     Case 1:07-cr-00316-DAD-SKO Document 366 Filed 09/13/12 Page 1 of 2


 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   2300 Tulare Street, Suite 230
     Fresno, California 93721
 3   Telephone: (559) 237-6000
 4   Attorney for Defendant, LYNN TRUONG
 5
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                           EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,   )               CASE NO. 1:07-CR-316 LJO
 9                               )
          Plaintiff,             )
10                               )               STIPULATION AND
        v.                       )               ORDER CONTINUING DATES FOR
11                               )               OBJECTIONS TO DRAFT PSR
     LYNN TRUONG,                )               AND SENTENCING DATE
12                               )
           Defendant.            )
13   ____________________________)
14         The parties hereto, by and through their respective attorneys, stipulate and
15   agree that the sentencing and related date be extended as set forth below to
16   afford the parties needed time to determine the actual loss attributable to Ms.
17   Truong. The Senior United States Probation Officer, counsel for the
18   government, and defense counsel, have each attempted to obtain further
19   information regarding the transactions delineated in paragraphs 53 and 54 of the
20   draft Presentence Report (PSR).
21         Counsel for the government has been in contact with the attorney for Capital
22   One who has refused to provide information to the government and rebuked
23   counsel for the government for attempting to obtain the needed information from
24   employees of Capital One with whom Ms. Escobar has previously communicated.
25         Defense counsel has arranged for a licensed real estate broker, at no cost
26   to the court, to provide defense counsel with needed information regarding the
27   procedures surrounding the July 10, 2012 foreclosure sale at which LPP Mortgage
28   Limited acquired the Willits property in a “no cash” transaction.

                                             1
     Case 1:07-cr-00316-DAD-SKO Document 366 Filed 09/13/12 Page 2 of 2


 1            The additional time will afford the government’s finanical expert to make
 2   additional inquiry in an effort to determine the circumstances of the sale and the
 3   reason that neither Capital One or LPP Mortgage Limited officials are not seeking
 4   restitution.
 5            In light of the foregoing the parties agree to the following dates: Informal
 6   Objections previously due September 10, 2012 will now be due on October 1,
 7   2012. The PSR will be distributed to the court on October 8, 2012. Sentencing
 8   memoranda are due on October 15, 2012.             The date for sentencing will be
 9   continued from October 1, 2012 to October 22, 2012 at 8:30 a.m.
10            The parties also agree that any delay resulting from this continuance shall
11   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
12   3161(h)(8)(A) and 3161(h)(8)(B)(I).
13
14   DATED: September 12, 2012              /s/ Karen Escobar        __      __
                                            KAREN ESCOBAR
15                                          Assistant United States Attorney
                                            This was agreed to by Ms. Escobar
16                                          in person on September 12, 2012
17
     DATED: September 12, 2012              /s/ Roger K. Litman    __
18                                          ROGER K. LITMAN
                                            Attorney for Defendant
19                                          LYNN TRUONG
     IT IS SO ORDERED.
20
     Dated:     September 13, 2012             /s/ Lawrence J. O'Neill
21   b9ed48                                UNITED STATES DISTRICT JUDGE
22
23
24
25
26
27
28

                                                2
